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                                                      January 18, 2023
     VIA ECF

     Hon. Lorna G. Schofield
     United States District Judge
     United States Courthouse
     40 Foley Square
     New York, NY 10007

             Re:     Robert Ryuichi Mitsugi v. Eunji Jung, No. 1:22-cv-08025 (LGS)

     Dear Judge Schofield:

             Pursuant to the Court’s Order dated January 5, 2023 (ECF No. 26), Robert Ryuichi
     Mitsugi (“Petitioner”) and Eunji Jung (“Respondent”) proceeding pro se, (together,
     “Parties”) respectfully submit this joint status letter and request a 45-day extension nunc
     pro tunc of the fact discovery deadline from January 13, 2023 until February 27, 2023.

     (a) Progress of mediation, scheduled to begin on January 13, 2023;

             The Parties met from 10:00 AM to 1:00 PM EST on January 13, 2023, but were
     unable to resolve this matter. The Parties have agreed to continue to exchange proposals
     until their next meeting, which is scheduled to take place on or about February 24, 2023.

     (b) Joint proposal from the Parties regarding the retention of an expert in Japanese
         law and, if appropriate, a list of any such experts agreeable to both Parties;

             The Parties propose that each will retain their own expert in Japanese law, and as
     such, did not develop a list of mutually-agreeable experts.

           Respondent intends to contract her lawyer in Japan, Mr. Jehun Kim, Founding
     Member and Director of the Yotsuya International Law Office. Mr. Kim graduated from
     the Osaka Prefectural University Faculty of Engineering Department of Marine
     Engineering and Registered as a lawyer in 2008. In June 2011 Mr. Kim established the
     Yotsuya International Law Office.

            Petitioner intends to contract an outside attorney from Japan, Mr. Kaoru Haraguchi,
     Founding Partner of the Haraguchi International Law Office. Haraguchi International Law
     Office was established in March 2003 by Kaoru Haraguchi, who has more than 25 years
     of experience practicing as an international lawyer in Japan, the United States, Europe and
     China. Mr. Haraguchi attended Chuo University (LL.B.) and The University of Chicago
     Law School (LL.M.).

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        The Parties understand that the Court will need to find and contract a neutral expert
of its own choosing.

(c) Further fact discovery that has occurred since the status letter filed December 29,
    2022

        Although the Parties’ efforts were focused on potentially resolving the entire matter
through mediation, the Parties nevertheless made a good faith effort to meet the discovery
deadline set in the December 1, 2022 Civil Case Management Plan and Scheduling Order
(ECF No. 21), but were unable to do so. The Parties continue to progress on the discovery
front, and the Parties have exchanged several materials, including complex Japanese legal
documents for which careful translation was required. Nevertheless, discovery remains
ongoing, and depositions have yet to take place. In light of the Parties’ prior good faith
discovery efforts, as well as the amount of anticipated forthcoming discovery, the Parties
respectfully request that the Court extend the deadline to complete fact discovery from
January 13, 2023 to February 27, 2023.

(d) Status of any legal proceedings involving the parties in Japan, to the extent the
    Parties have more information regarding the schedule or status of such
    proceedings beyond what was discussed at the conference.

       Since the telephonic conference held on January 4, 2023 (ECF No. 26), the
Japanese court held a conference on January 11, 2023, during which the Japanese court
recognized the appearances of Ms. Jung (through her attorney) and Mr. Mitsugi (through
his motion to dismiss the complaint). Mr. Mitsugi’s response to the complaint in the
Japanese court is due on February 15, 2023. The next Court conference date is February
22, 2023.

        The Parties do not share a common understanding regarding the timeframe in which
the legal proceedings in the Japanese court will be resolved. Mr. Mitsugi’s former Japanese
counsel, anticipates that the proceedings will be finalized within approximately two years,
while Ms. Jung’s attorney, Mr. Kim, anticipates that the proceedings will be finalized in
approximately three to six months. The Parties agree that this discrepancy heightens the
need for a resolution of proceedings in the United States.
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                                    Respectfully submitted,




 By:
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